                                          Case 15-80722-JJG-7A              Doc 46 FiledFORM 1
                                                                                           04/24/18  EOD 04/24/18                       14:35:53         Pg 1 of Page
                                                                                                                                                                 6 No:        1
                                                                    INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                     ASSET CASES

Case No.:                        15-80722                                                                                                Trustee Name:                        Lou Ann Marocco
Case Name:                       KEILLY, BRIAN MICHAEL                                                                                   Date Filed (f) or Converted (c):     09/09/2015 (f)
For the Period Ending:           03/31/2018                                                                                              §341(a) Meeting Date:                10/20/2015
                                                                                                                                         Claims Bar Date:                     09/20/2016
                                    1                                       2                          3                           4                        5                                     6

                        Asset Description                                Petition/            Estimated Net Value               Property              Sales/Funds            Asset Fully Administered (FA)/
                         (Scheduled and                                Unscheduled           (Value Determined by               Abandoned             Received by           Gross Value of Remaining Assets
                    Unscheduled (u) Property)                             Value                     Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                            Less Liens, Exemptions,
                                                                                               and Other Costs)

Ref. #
1        104 E Lawrin Blvd, Terre Haute, IN 47803-2018                    $199,900.00                             $0.00            OA                              $0.00                                      FA
         Sing
2        5354 Mark Ln, Indianapolis, IN 46226-1668                        $109,400.00                             $0.00            OA                              $0.00                                      FA
         Single f
3      Checking Account 8075 Chase Bank Joint with                          $1,120.24                          $770.24                                           $624.03                                $146.21
       Spouse
Asset Notes:    Checking Account 8075 Chase Bank Joint with Spouse
4        Household goods and furnishings                                    $3,500.00                             $0.00            OA                              $0.00                                      FA
Asset Notes:        Household goods and furnishings
5        Clothing                                                            $500.00                              $0.00            OA                              $0.00                                      FA
Asset Notes:        Clothing
6        401K through Mabteck Enterprises, Inc.                                 $0.00                             $0.00            OA                              $0.00                                      FA
Asset Notes:        401K through Mabteck Enterprises, Inc.
7        500 shares in Mabteck Enterprises, Inc.                                $0.00                             $0.00                                            $0.00                                      FA
Asset Notes:        500 shares in Mabteck Enterprises, Inc.
8      76.781014 share of Procter & Gamble Jointly                           Unknown                          $2,500.00                                            $0.00                               $2,500.00
       owned
Asset Notes:    76.781014 share of Procter & Gamble Jointly owned with Mary Joan Schwanke
9      2004 Chevrolet Suburban 1500 LS 4WD 4dr                           $4,409.00                                $0.00            OA                              $0.00                                      FA
       SUV (5.3L
Asset Notes:   2004 Chevrolet Suburban 1500 LS 4WD 4dr SUV (5.3L 8cyl 4A)
10       Federal & State Tax Refunds                          (u)           Unknown                           $1,388.97                                         $1,388.97                                     FA


TOTALS (Excluding unknown value)                                                                                                                                                  Gross Value of Remaining Assets
                                                                         $318,829.24                          $4,659.21                                         $2,013.00                             $2,646.21



Major Activities affecting case closing:
 01/20/2018      Sent email to counsel
 10/18/2017      Rev computershare acct docs
                                        Case 15-80722-JJG-7A                   Doc 46 FiledFORM 1
                                                                                              04/24/18  EOD 04/24/18                               14:35:53          Pg 2 of Page
                                                                                                                                                                             6 No:        2
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES

Case No.:                      15-80722                                                                                                              Trustee Name:                        Lou Ann Marocco
Case Name:                     KEILLY, BRIAN MICHAEL                                                                                                 Date Filed (f) or Converted (c):     09/09/2015 (f)
For the Period Ending:         03/31/2018                                                                                                            §341(a) Meeting Date:                10/20/2015
                                                                                                                                                     Claims Bar Date:                     09/20/2016
                                   1                                                 2                             3                           4                        5                                     6

                     Asset Description                                           Petition/                Estimated Net Value               Property              Sales/Funds            Asset Fully Administered (FA)/
                      (Scheduled and                                           Unscheduled               (Value Determined by               Abandoned             Received by           Gross Value of Remaining Assets
                 Unscheduled (u) Property)                                        Value                         Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                                        Less Liens, Exemptions,
                                                                                                           and Other Costs)

 09/06/2017    revise form 1
               3/29/17 trustee will file motion for turnvoer


               6/26/16 review poc of US DEPT OF ED


               6/20/16 filed roa


               6/20/16 left message for Kathleen Wyatt of Huntington bank re keys to building


               6/1/16 reviewed tax returns
               9/16/16 review poc of Huntington
               4/15/16 trustee awaits tax returns


               2/23/16 sent an email requesting R and L to evaluate validity of a lien on real estate


               2/23/16 sent an email requesting additional information from d's counsel


               12/18/15 filed m for extension of time to object to discharge


               12/2/15 filed report of first meeting held


               11/17/16 conducted 341


Initial Projected Date Of Final Report (TFR):           02/28/2017                             Current Projected Date Of Final Report (TFR):       09/30/2018               /s/ LOU ANN MAROCCO
                                                                                                                                                                            LOU ANN MAROCCO
                                       Case 15-80722-JJG-7A           Doc 46          Filed 04/24/18           EOD 04/24/18 14:35:53                   Pg 3 of 6
                                                                                       FORM 2                                                                          Page No: 1
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        15-80722                                                                                           Trustee Name:                          Lou Ann Marocco
Case Name:                      KEILLY, BRIAN MICHAEL                                                                              Bank Name:                             Green Bank
Primary Taxpayer ID #:          **-***1665                                                                                         Checking Acct #:                       ******2201
Co-Debtor Taxpayer ID #:                                                                                                           Account Title:                         DDA
For Period Beginning:           04/01/2017                                                                                         Blanket bond (per case limit):         $36,630,939.00
For Period Ending:              03/31/2018                                                                                         Separate bond (if applicable):


     1               2                          3                                                    4                                                     5                    6               7

Transaction      Check /                     Paid to/                        Description of Transaction                             Uniform           Deposit             Disbursement        Balance
   Date           Ref. #                  Received From                                                                            Tran Code            $                      $


11/14/2017                  UNION BANK                               Transfer Funds                                                 9999-000           $1,773.00                     $0.00          $1,773.00
11/30/2017                  Green Bank                               Bank Service Fee                                               2600-000                   $0.00                 $1.56          $1,771.44
12/29/2017                  Green Bank                               Bank Service Fee                                               2600-000                   $0.00                 $2.85          $1,768.59
01/31/2018                  Green Bank                               Bank Service Fee                                               2600-000                   $0.00                 $2.85          $1,765.74
02/28/2018                  Green Bank                               Bank Service Fee                                               2600-000                   $0.00                 $2.57          $1,763.17
03/30/2018                  Green Bank                               Bank Service Fee                                               2600-000                   $0.00                 $2.93          $1,760.24

                                                                                        TOTALS:                                                            $1,773.00                 $12.76         $1,760.24
                                                                                            Less: Bank transfers/CDs                                       $1,773.00                  $0.00
                                                                                        Subtotal                                                               $0.00                 $12.76
                                                                                            Less: Payments to debtors                                          $0.00                  $0.00
                                                                                        Net                                                                    $0.00                 $12.76




                     For the period of 04/01/2017 to 03/31/2018                                                   For the entire history of the account between 11/14/2017 to 3/31/2018

                     Total Compensable Receipts:                           $0.00                                  Total Compensable Receipts:                                       $0.00
                     Total Non-Compensable Receipts:                       $0.00                                  Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                         $0.00                                  Total Comp/Non Comp Receipts:                                     $0.00
                     Total Internal/Transfer Receipts:                 $1,773.00                                  Total Internal/Transfer Receipts:                             $1,773.00


                     Total Compensable Disbursements:                     $12.76                                  Total Compensable Disbursements:                                  $12.76
                     Total Non-Compensable Disbursements:                  $0.00                                  Total Non-Compensable Disbursements:                               $0.00
                     Total Comp/Non Comp Disbursements:                   $12.76                                  Total Comp/Non Comp Disbursements:                                $12.76
                     Total Internal/Transfer Disbursements:                $0.00                                  Total Internal/Transfer Disbursements:                             $0.00
                                     Case 15-80722-JJG-7A    Doc 46          Filed 04/24/18           EOD 04/24/18 14:35:53                Pg 4 of 6
                                                                              FORM 2                                                                     Page No: 2
                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       15-80722                                                                                Trustee Name:                        Lou Ann Marocco
Case Name:                     KEILLY, BRIAN MICHAEL                                                                   Bank Name:                           UNION BANK
Primary Taxpayer ID #:         **-***1665                                                                              Checking Acct #:                     ******3972
Co-Debtor Taxpayer ID #:                                                                                               Account Title:                       Checking Account (Non-Interest Earn
For Period Beginning:          04/01/2017                                                                              Blanket bond (per case limit):       $36,630,939.00
For Period Ending:             03/31/2018                                                                              Separate bond (if applicable):


     1                2                       3                                                 4                                            5                    6                    7

Transaction      Check /                    Paid to/                 Description of Transaction                         Uniform           Deposit           Disbursement            Balance
   Date           Ref. #                 Received From                                                                 Tran Code            $                    $


06/01/2016                  UNITED STATES TREASURY          TAX Refund                                                      *              $1,825.00                     $0.00             $1,825.00
                     {10}                                   UNSCHEDULED TAX REFUND                         $1,388.97    1224-000                                                           $1,825.00
                     {3}                                    tax intercept applied to funds on               $436.03     1129-000                                                           $1,825.00
                                                            deposit
06/01/2016           (3)    AUDITOR OF THE STATE OF         TAX Refund-state applied to funds on deposit                1129-000            $188.00                      $0.00             $2,013.00
                            INDIANA
07/25/2016                  UNION BANK                      BANK SERVICE FEE                                            2600-000                 $0.00                  $15.00             $1,998.00
08/25/2016                  UNION BANK                      BANK SERVICE FEE                                            2600-000                 $0.00                  $15.00             $1,983.00
09/26/2016                  UNION BANK                      BANK SERVICE FEE                                            2600-000                 $0.00                  $15.00             $1,968.00
10/25/2016                  UNION BANK                      BANK SERVICE FEE                                            2600-000                 $0.00                  $15.00             $1,953.00
11/25/2016                  UNION BANK                      BANK SERVICE FEE                                            2600-000                 $0.00                  $15.00             $1,938.00
12/27/2016                  UNION BANK                      BANK SERVICE FEE                                            2600-000                 $0.00                  $15.00             $1,923.00
01/25/2017                  UNION BANK                      BANK SERVICE FEE                                            2600-000                 $0.00                  $15.00             $1,908.00
02/27/2017                  UNION BANK                      BANK SERVICE FEE                                            2600-000                 $0.00                  $15.00             $1,893.00
03/27/2017                  UNION BANK                      BANK SERVICE FEE                                            2600-000                 $0.00                  $15.00             $1,878.00
04/25/2017                  UNION BANK                      BANK SERVICE FEE                                            2600-000                 $0.00                  $15.00             $1,863.00
05/25/2017                  UNION BANK                      BANK SERVICE FEE                                            2600-000                 $0.00                  $15.00             $1,848.00
06/26/2017                  UNION BANK                      BANK SERVICE FEE                                            2600-000                 $0.00                  $15.00             $1,833.00
07/25/2017                  UNION BANK                      BANK SERVICE FEE                                            2600-000                 $0.00                  $15.00             $1,818.00
08/25/2017                  UNION BANK                      BANK SERVICE FEE                                            2600-000                 $0.00                  $15.00             $1,803.00
09/25/2017                  UNION BANK                      BANK SERVICE FEE                                            2600-000                 $0.00                  $15.00             $1,788.00
10/25/2017                  UNION BANK                      BANK SERVICE FEE                                            2600-000                 $0.00                  $15.00             $1,773.00
11/14/2017                  Green Bank                      Transfer Funds                                              9999-000                 $0.00            $1,773.00                    $0.00




                                                                                                                       SUBTOTALS            $2,013.00                 $2,013.00
                                       Case 15-80722-JJG-7A           Doc 46       Filed 04/24/18           EOD 04/24/18 14:35:53                   Pg 5 of 6
                                                                                    FORM 2                                                                          Page No: 3
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        15-80722                                                                                        Trustee Name:                          Lou Ann Marocco
Case Name:                      KEILLY, BRIAN MICHAEL                                                                           Bank Name:                             UNION BANK
Primary Taxpayer ID #:          **-***1665                                                                                      Checking Acct #:                       ******3972
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:                         Checking Account (Non-Interest Earn
For Period Beginning:           04/01/2017                                                                                      Blanket bond (per case limit):         $36,630,939.00
For Period Ending:              03/31/2018                                                                                      Separate bond (if applicable):


    1                2                          3                                                   4                                                   5                    6                    7

Transaction      Check /                     Paid to/                       Description of Transaction                           Uniform           Deposit             Disbursement            Balance
   Date           Ref. #                  Received From                                                                         Tran Code            $                      $



                                                                                     TOTALS:                                                            $2,013.00                $2,013.00               $0.00
                                                                                         Less: Bank transfers/CDs                                           $0.00                $1,773.00
                                                                                     Subtotal                                                           $2,013.00                  $240.00
                                                                                         Less: Payments to debtors                                          $0.00                    $0.00
                                                                                     Net                                                                $2,013.00                  $240.00




                     For the period of 04/01/2017 to 03/31/2018                                                For the entire history of the account between 06/01/2016 to 3/31/2018

                     Total Compensable Receipts:                          $0.00                                Total Compensable Receipts:                                   $2,013.00
                     Total Non-Compensable Receipts:                      $0.00                                Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                        $0.00                                Total Comp/Non Comp Receipts:                                 $2,013.00
                     Total Internal/Transfer Receipts:                    $0.00                                Total Internal/Transfer Receipts:                                 $0.00


                     Total Compensable Disbursements:                    $105.00                               Total Compensable Disbursements:                                $240.00
                     Total Non-Compensable Disbursements:                  $0.00                               Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:                  $105.00                               Total Comp/Non Comp Disbursements:                              $240.00
                     Total Internal/Transfer Disbursements:            $1,773.00                               Total Internal/Transfer Disbursements:                        $1,773.00
                                       Case 15-80722-JJG-7A           Doc 46        Filed 04/24/18        EOD 04/24/18 14:35:53                   Pg 6 of 6
                                                                                     FORM 2                                                                    Page No: 4
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        15-80722                                                                                     Trustee Name:                         Lou Ann Marocco
Case Name:                      KEILLY, BRIAN MICHAEL                                                                        Bank Name:                            UNION BANK
Primary Taxpayer ID #:          **-***1665                                                                                   Checking Acct #:                      ******3972
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:                        Checking Account (Non-Interest Earn
For Period Beginning:           04/01/2017                                                                                   Blanket bond (per case limit):        $36,630,939.00
For Period Ending:              03/31/2018                                                                                   Separate bond (if applicable):


    1                2                           3                                                   4                                              5                    6                    7

Transaction      Check /                     Paid to/                        Description of Transaction                        Uniform           Deposit           Disbursement            Balance
   Date           Ref. #                  Received From                                                                       Tran Code            $                    $


                                                                                                                                                                             NET              ACCOUNT
                                                                                      TOTAL - ALL ACCOUNTS                              NET DEPOSITS                    DISBURSE             BALANCES

                                                                                                                                                  $2,013.00                  $252.76              $1,760.24




                     For the period of 04/01/2017 to 03/31/2018                                              For the entire history of the account between 06/01/2016 to 3/31/2018

                     Total Compensable Receipts:                           $0.00                           Total Compensable Receipts:                                  $2,013.00
                     Total Non-Compensable Receipts:                       $0.00                           Total Non-Compensable Receipts:                                  $0.00
                     Total Comp/Non Comp Receipts:                         $0.00                           Total Comp/Non Comp Receipts:                                $2,013.00
                     Total Internal/Transfer Receipts:                 $1,773.00                           Total Internal/Transfer Receipts:                            $1,773.00


                     Total Compensable Disbursements:                    $117.76                           Total Compensable Disbursements:                               $252.76
                     Total Non-Compensable Disbursements:                  $0.00                           Total Non-Compensable Disbursements:                             $0.00
                     Total Comp/Non Comp Disbursements:                  $117.76                           Total Comp/Non Comp Disbursements:                             $252.76
                     Total Internal/Transfer Disbursements:            $1,773.00                           Total Internal/Transfer Disbursements:                       $1,773.00




                                                                                                                                              /s/ LOU ANN MAROCCO
                                                                                                                                              LOU ANN MAROCCO
